Case 2:15-cv-01045-RFB-BNW Document 993-2 Filed 02/29/24 Page 1 of 5




          EXHIBIT A
    Case 2:15-cv-01045-RFB-BNW Document 993-2 Filed 02/29/24 Page 2 of 5



       WILLIAM A. ISAACSON (Pro hac vice)                 CHRISTOPHER S. YATES (Pro hac vice)
1      wisaacson@paulweiss.com                            chris.yates@lw.com
2      JESSICA PHILLIPS (Pro hac vice)                    LATHAM & WATKINS LLP
       jphillips@paulweiss.com                            505 Montgomery Street, Suite 2000
3      PAUL, WEISS, RIFKIND, WHARTON &                    San Francisco, CA 94111
       GARRISON LLP
4      2001 K Street, NW                                  SEAN M. BERKOWITZ (Pro hac vice)
       Washington, DC 20006                               sean.berkowitz@lw.com
5                                                         LATHAM & WATKINS LLP
6      DONALD J. CAMPBELL (No. 1216)                      330 North Wabash Ave, Suite 2800
       djc@campbellandwilliams.com                        Chicago, IL 60611
7      J. COLBY WILLIAMS (No. 5549)
       jcw@campbellandwilliams.com                        LAURA R. WASHINGTON (Pro hac vice)
8      CAMPBELL & WILLIAMS                                laura.washington@lw.com
       700 South 7th Street                               LATHAM & WATKINS LLP
9
       Las Vegas, NV 89101                                10250 Constellation Blvd, Suite 1100
10                                                        Los Angeles, CA 90067

11                                                        Attorneys for Defendant Zuffa, LLC

12

13
                                UNITED STATES DISTRICT COURT
14                                   DISTRICT OF NEVADA

15

16    Cung Le, Nathan Quarry, Jon Fitch, Brandon Vera,       Case No.: 2:15-cv-01045-RFB-BNW
      Luis Javier Vazquez, and Kyle Kingsbury on behalf
17    of themselves and all others similarly situated,       DEFENDANT ZUFFA, LLC’S
                                                             PRELIMINARY WITNESS LIST
18
                               Plaintiffs,
19
                               v.
20
      Zuffa, LLC, d/b/a Ultimate Fighting Championship
21    and UFC,
22                             Defendant.
23

24

25

26
27

28


      Zuffa’s Preliminary Witness List                                 No. 2:15-cv-1045-RFB-BNW
    Case 2:15-cv-01045-RFB-BNW Document 993-2 Filed 02/29/24 Page 3 of 5




1            Defendant Zuffa, LLC (“Zuffa”) submits the following preliminary list of witnesses that it

2     may call at trial. In addition to the below-listed witnesses, Zuffa reserves the right to call any

3     witness listed on Plaintiffs’ preliminary witness list. Zuffa also reserves the right to call witnesses

4     not listed for impeachment or rebuttal.

5     Fact Witnesses:

6        1. Abdelaziz, Ali

7        2. Aronson, Jeffrey

8        3. Batchvarova, Denitza

9        4. Bisping, Michael

10       5. Borsari, Craig

11       6. Cerrone, Donald

12       7. Chandler, Michael

13       8. Coker, Scott

14       9. DiBella, Louis John

15       10. Dropick, Peter

16       11. Epstein, Ike Lawrence

17       12. Fertitta, Lorenzo

18       13. Fitch, Jonathan

19       14. House, Jason

20       15. Jones, Josh

21       16. Kingsbury, Kyle

22       17. Knapp, Shannon

23       18. Lambert, Dan

24       19. Lappen, Jeremy

25       20. Le, Cung

26       21. Long, Tracy

27       22. Margules, Leon

28       23. Maynard, Mick


      Zuffa’s Preliminary Witness List                                      No. 2:15-cv-1045-RFB-BNW
    Case 2:15-cv-01045-RFB-BNW Document 993-2 Filed 02/29/24 Page 4 of 5




1        24. Otto, Kurt

2        25. Quarry, Nathan

3        26. Ratner, Marc

4        27. Richard, Brent

5        28. Shelby, Sean

6        29. Silva, Carlos

7        30. Silva, Joe

8        31. Simon, Andrew

9        32. Soares, Ed

10       33. Sonnen, Chael

11       34. Tate, Miesha

12       35. Vazquez, Javier

13       36. Vera, Brandon

14       37. White, Dana

15       38. Zelaznik, Marshall

16    Expert Witnesses:

17       1. Blair, Roger

18       2. Davis, Elizabeth

19       3. Marks, Richard

20       4. Oyer, Paul

21       5. Topel, Robert

22

23

24

25

26
27

28

                                           2
      Zuffa’s Preliminary Witness List                   No. 2:15-cv-1045-RFB-BNW
    Case 2:15-cv-01045-RFB-BNW Document 993-2 Filed 02/29/24 Page 5 of 5




1      Dated: February 2, 2024                   Respectfully Submitted,

2                                                /s/ Christopher S. Yates
3      WILLIAM A. ISAACSON (Pro hac vice)        CHRISTOPHER S. YATES (Pro hac vice)
       wisaacson@paulweiss.com                   chris.yates@lw.com
4      JESSICA PHILLIPS (Pro hac vice)           LATHAM & WATKINS LLP
       jphillips@paulweiss.com                   505 Montgomery Street, Suite 2000
5      PAUL, WEISS, RIFKIND, WHARTON &           San Francisco, CA 94111
       GARRISON LLP                              Tel: (415) 395-8095
6      2001 K Street, NW
7      Washington, DC 20006                      SEAN M. BERKOWITZ (Pro hac vice)
                                                 sean.berkowitz@lw.com
8      BRETTE M. TANNENBAUM (Pro hac vice)       LATHAM & WATKINS LLP
       btannenbaum@paulweiss.com                 330 North Wabash Ave, Suite 2800
9      YOTAM BARKAI (Pro hac vice)               Chicago, IL 60611
       ybarkai@paulweiss.com
10
       PAUL, WEISS, RIFKIND, WHARTON &           LAURA WASHINGTON (Pro hac vice)
11     GARRISON LLP                              laura.washington@lw.com
       1285 Avenue of the Americas               LATHAM & WATKINS LLP
12     New York, NY 10019                        10250 Constellation Blvd, Suite 1100
                                                 Los Angeles, CA 90067
13     DONALD J. CAMPBELL (No. 1216)
       djc@campbellandwilliams.com               DAVID L. JOHNSON (Pro hac vice)
14
       J. COLBY WILLIAMS (No. 5549)              david.johnson@lw.com
15     jcw@campbellandwilliams.com               LATHAM & WATKINS LLP
       CAMPBELL & WILLIAMS                       555 Eleventh Street NW, Suite 1000
16     700 South 7th Street                      Washington, D.C. 20004
       Las Vegas, Nevada 89101
17     Tel: (702) 382-5222                       Attorneys for Defendant Zuffa, LLC
18

19

20

21

22

23

24

25

26
27

28

                                             3
      Zuffa’s Preliminary Witness List                        No. 2:15-cv-1045-RFB-BNW
